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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York

NB:LTG/JLG/MRM                                    610 Federal Plaza
F. #2018R00279                                    Central Islip, New York 11722



                                                  October 30, 2019


By Federal Express and ECF

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                Re:   United States v. Christopher McPartland and Thomas J. Spota
                      Criminal Docket No. 17-587 (JMA)

Dear Counsel:

              Enclosed please find a video recording of a May 2015 award ceremony as well as
some additional discovery.

                                                  Very truly yours,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/
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                                                  Lara Treinis Gatz
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Enclosures.

cc:    Clerk of the Court (JMA) (by ECF) (redacted) (without enclosures)
